Case 1:20-cv-01142-JTN-RSK ECF No. 20, PageID.268 Filed 02/18/21 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 ENBRIDGE ENERGY, LIMITED
 PARTNERSHIP, et al.,

        Plaintiffs,                                               Case No. 1:20-cv-1141

 v.                                                               HON. JANET T. NEFF

 GRETCHEN WHITMER, et al.,

        Defendants.

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 STATE OF MICHIGAN, et al.,

        Plaintiffs,
                                                                  Case No. 1:20-cv-1142
 v.
                                                                  HON. JANET T. NEFF
 ENBRIDGE ENERGY, LIMITED
 PARTNERSHIP, et al.,

        Defendants.

 ____________________________/


                                           ORDER

       On November 13, 2020, the State of Michigan issued a Notice of Revocation and

Termination of Easement to revoke and terminate a 1953 Easement that allowed construction of

the Straits Pipelines. That same day, the State of Michigan, Governor Gretchen Whitmer, and the

Michigan Department of Natural Resources (collectively “the State Parties”) filed a Complaint in

state court, seeking various declaratory judgments. On November 24, 2020, Enbridge Energy,

Limited Partnership; Enbridge Energy Company, Inc.; and Enbridge Energy Partners, L.P.
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 Case 1:20-cv-01142-JTN-RSK ECF No. 20, PageID.269 Filed 02/18/21 Page 2 of 4




(collectively “the Enbridge Parties”) filed a lawsuit in this Court, Case No. 1:20-cv-1141, and

removed the state court case here, Case No. 1:20-cv-1142.

        This Court conducted a Pre-Motion Conference with counsel in these cases on February

17, 2021. In Case No. 1:20-cv-1141, the State Parties propose to file a motion to dismiss based

on sovereign immunity and failure to state a claim (ECF No. 10). In Case No. 1:20-cv-1142, the

Enbridge Parties propose to file a motion to dismiss for failure to state a claim (ECF No. 9), and

the State Parties propose to file a motion to remand to state court for lack of subject matter

jurisdiction (ECF No. 15). Having considered the parties’ written and oral submissions, the Court

has determined, for the reasons stated on the record, to consider the motion to remand before

turning to consider the issues of consolidating and/or dismissing these cases. Accordingly:

        IT IS HEREBY ORDERED that the parties shall proceed with briefing the anticipated

motion to remand in Case No. 1:20-cv-1142 (ECF No. 15) in accordance with the following

schedule:

        (1)    The State Parties’ Motion to Remand and Brief, limited to 30 pages, shall be served
               and a proof of service filed not later than March 17, 2021;

        (2)    Any briefs from amici in support of the State Parties’ Motion to Remand, limited
               to no more than four amici briefs and limited to 15 pages each, shall be served and
               a proof of service filed within 14 days of the Motion;

        (3)    The Enbridge Parties’ Response, limited to 30 pages, shall be served and a proof of
               service filed within 42 days of service of the Motion;

        (4)    Any briefs from amici in support of the Enbridge Parties’ opposition to the motion
               to remand, limited to no more than four amici briefs and limited to 15 pages each,
               shall be served and a proof of service filed within 14 days of the Response;

        (5)    The State Parties’ Reply, limited to 20 pages, shall be served and a proof of service
               filed within 35 days of service of the Response; and

        (6)    The parties shall electronically file their respective motion papers as soon as the
               motion is fully briefed.



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 Case 1:20-cv-01142-JTN-RSK ECF No. 20, PageID.270 Filed 02/18/21 Page 3 of 4




The parties shall otherwise adhere to the requirements for briefing and filing dispositive motions, as

set forth in Judge Neff’s Information and Guidelines for Civil Practice, available on the Court’s

website (www.miwd.uscourts.gov).

        IT IS FURTHER ORDERED that the parties shall adhere to this Court’s Local Civil Rule

10.9 when referencing a page of the record.

        IT IS FURTHER ORDERED that the parties shall collaborate and file a Joint Exhibit

Book to avoid duplicative exhibits.

        IT IS FURTHER ORDERED that the State Parties shall provide chambers with one three-

ring binder containing one-sided paper courtesy copies of the respective motion papers, including

their motion to remand, the response, the reply, any amicus briefs, and any exhibits, after electronic

filing (i.e., with the header) and properly tabbed. The binder shall be submitted directly to Judge

Neff’s chambers.

        IT IS FURTHER ORDERED that the parties shall: (1) forthwith collaborate and identify

the name of someone who could serve as a facilitative mediator or special master to guide the

parties to a potential global resolution of their dispute; and (2) within twenty-eight (28) days of

entry of this Order, file a Joint Notice advising the Court whether this matter may be submitted to

facilitative mediation or a special master, including the name of the person whom the parties have

jointly selected and an estimated time for completion.

        IT IS FURTHER ORDERED that the requests for briefing schedules on the motions to

dismiss (ECF No. 10, Case No. 1:20-cv-1141; ECF No. 9, Case No. 1:20-cv-1142) are DENIED

without prejudice to renewing within fourteen days after the Court’s resolution of the motion to

remand. The parties shall include in their renewed Pre-Motion Conference Request(s), if any, a

joint proposed briefing schedule, if applicable.



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Case 1:20-cv-01142-JTN-RSK ECF No. 20, PageID.271 Filed 02/18/21 Page 4 of 4




       IT IS FURTHER ORDERED that the time for filing answers/responsive pleadings is

extended until fourteen (14) days after a Pre-Motion Conference on the renewed request(s), or

further order of the Court.



Dated: February 18, 2021                                  /s/ Janet T. Neff
                                                         JANET T. NEFF
                                                         United States District Judge




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